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Attorney for Defendant

                        UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA
United States of America,
                                              )   Criminal No. 21-CR-306 (APM)
                                              )
                       Plaintiff,             )
vs.                                           )
                                              )
Jon Ryan Schaffer,                            )
                                              )
                       Defendant.             )   (1st Request)
                                              )   (Defendant not in Custody)
                                              )

               MOTION TO CONTINUE SENTENCING OR IN THE
                    ALTERNATIVE STAY SENTENCING


        Defendant, Jon Ryan Schaffer (“Mr. Schaffer”), by and through undersigned

counsel, hereby requests this Court continue Sentencing, currently set for February 20,

2024,

                                                               , and set a status
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conference in June 2024, or in the alternative Stay Sentencing pending the outcome of

Fischer.
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      Undersigned counsel expects that excludable delay pursuant to Title 18 U.S.C. §

3161(h)(7)(A) and 3161(h)(7)(B)(i) may occur as a result of the motion or from an order

based thereon.


                        RESPECTFULLY SUBMITTED this 18th day of January, 2024.


                                        ATTORNEYS FOR FREEDOM LAW FIRM


                                        /s/ Andrew C. Marcantel, Esq.
                                        Andrew C. Marcantel, Esq.
                                        Attorney for Defendant
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                              CERTIFICATE OF SERVICE

       I hereby certify that on January 18, 2024, I filed the Original with the Clerk of the
Court using the CM/ECF System for filing.

COPIES emailed to:

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Honorable Amit P. Mehta
U.S. District Court Judge
Mehta_Chambers@dcd.uscourts.gov



By: /s/ Andrea Yirak
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                      UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA

                                            )
United States of America,                   ) Criminal No. 21-CR-306 (APM)
                                            )
                     Plaintiff,             )
                                            )
vs.                                         )
                                            )
Jon Ryan Schaffer,                          )
                                            )
                     Defendant.             )
                                            )

      ORDER RE: DEFENDANT’S MOTION TO CONTINUE SENTENCING
                OR IN THE ALTERNATIVE STAY SENTENCING

      Pursuant to Defendant’s Motion to Continue Sentencing or in the Alternative Stay
Sentencing, and good cause appearing;
      IT IS ORDERED granting Defendant’s Motion and continuing Sentencing
currently scheduled for February 20, 2024 to ________ day of _____________________,
2024 at _______ am/pm.




                                               It Is So Ordered.

                                               ______________________
                                               AMIT P. MEHTA
                                               United States District Court
                                               for the District Of Columbia


Entered: _____________________
